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                      IN THE UNITED STATES DISTRICT COURT
                   FOT THE EASTERN DISTRICT OF PENNSYLVANIA



JOSEPH LINDQUIST, on behalf of himself and    Case No. 2:23-cv-01236-KNS
all others similarly situated,

      Plaintiff,                              CLASS ACTION

v.                                            JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC.,

      Defendant.


LILLIAN MARDIKIAN, on behalf of herself and   Case No. 2:23-cv-01246-KNS
all others similarly situated,

      Plaintiff,                              CLASS ACTION

v.                                            JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC.,

      Defendant.


ERNESTO MEDINA, individually and on behalf    Case No. 2:23-cv-01270-KNS
of all others similarly situated,

      Plaintiff,                              CLASS ACTION

v.                                            JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC.,

      Defendant.
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CHRISTINE NEUBAUER, Individually, and on         Case No. 2:23-cv-01300-KNS
Behalf of All Others Similarly Situated,

      Plaintiff,                                 CLASS ACTION

v.                                               JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC.,

      Defendant.


JUDE PALMER, individually and on behalf of all   Case No. 2:23-cv-01315-KNS
others similarly situated,

      Plaintiff,                                 CLASS ACTION

              v.                                 JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC. and
BANK OF AMERICA CORPORATION,

      Defendants.


HOWARD SUH, individually and on behalf all       Case No. 2:23-cv-1338-KNS
others similarly situated,

      Plaintiff,
                                                 CLASS ACTION
v.
                                                 JURY TRIAL DEMANDED
NCB MANAGEMENT SERVICES, INC.,

      Defendant.
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KYLIE MEYER, individually and on behalf of all   Case No. 2:23-cv-1340-KNS
others similarly situated,

        Plaintiff,                               CLASS ACTION

v.                                               JURY TRIAL DEMANDED

NCB MANAGEMENT SERVICES, INC. and
BANK OF AMERICA CORPORATION,

        Defendants.




        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION (1) TO
     CONSOLIDATE THE RELATED ACTIONS, (2) TO APPOINT INTERIM CO-LEAD
       CLASS COUNSEL, PLAINTIFFS’ LIAISON COUNSEL AND A PLAINTIFFS’
     STEERING COMMITTEE, AND (3) TO SET A DEADLINE FOR THE FILING OF A
                SINGLE CONSOLIDATED AMENDED COMPLAINT
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I.     INTRODUCTION

       Within the last two weeks, there have been seven putative class actions filed in this Court

related to a data breach at NCB Management Services, Inc. (“NCB”), a national debt collection

agency. Nearly five-hundred thousand people were impacted by the breach, 1 which includes

sensitive data such as names, addresses, phone numbers, emails, birthdates, driver's license

numbers, Social Security numbers, account numbers, credit card numbers, routing numbers,

account balances, and other unspecified “account status” information. All of the complaints name

NCB as a defendant, and two of them (the Palmer and Meyer actions) also name Bank of America

Corporation (“BOA”) defendant. BOA apparently had a contractual relationship with NCB

whereby it shared and entrusted NCB with the sensitive data of putative class members.

       Consistent with the directives of the Manual for Complex Litigation, §§ 10.22, 21.272 (4th

ed. 2004) (the “Manual”) and recent decisions from this Court which encourage the “private

ordering” and cooperation among Plainitffs’ counsel in this context, the undersigned are pleased

to report that they have agreed upon a proposed leadership structure which is inclusive of all seven

of the cases currently pending in this Court. As discussed below, the leadership structure is

comprised of seasoned privacy and data breach lawyers who have extensive experience litigating

similar cases. The proposed slate also includes diverse and younger lawyers whose combined

talent, resources, and perspectives will undoubtably ensure the efficient and economical

prosecution of the case. These lawyers and their respective firms are coommitted to devoting the

resources necessary to vigorously litigate this case to concliusion on behalf of their clients and the

putative class.




1
 See https://apps.web.maine.gov/online/aeviewer/ME/40/65d544dc-79b0-437c-a7f8-
757ffec624af.shtml (last visited April 12, 2023).
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         For the reasons set forth below, Plaintiffs respectfully request that the Court (a) consolidate

these related cases pursuant to FED. R. CIV. P. 42(a), (b) appoint Benjamin F. Johns of Shub &

Johns LLC, Joseph M. Lyon of The Lyon Law Firm, LLC, and Christian Levis of Lowey

Dannenberg, P.C., as Interim Co-Lead Class Counsel; (c) appoint Charles E. Schaffer of Levin

Sedran & Berman LLP as Plaintiffs’ Liaison Counsel; (d) appoint Terence R. Coates of Markovits,

Stock & Demarco, LLC, Danielle L. Perry of Mason LLP, Mark B. DeSanto of Sauder Schelkopf

LLC, and Carl Malmstrom of Wolf Haldenstein Adler Freeman & Herz LLC to a Plaintiffs’

Steering Committee; and (e) approve the proposed briefing schedule which would relieve

Defendants from responding from the various complaints in the seven Related Actions, and instead

set a schedule for the filing of a single Consolidated Class Action Complaint within forty-five (45)

days from entry of the proposed order.

         Plaintiffs emailed a copy of the proposed order to counsel for both BOA and NCB, but

were unable to secure their positions as to the relief sought in this motion as of the time of its filing.

II.      BACKGROUND

      As discussed above, these are seven putative class actions arising from a data breach recently

announced by NCB. Plaintiffs and putative class members are individuals whose personal,

sensitive information was compromised in the breach. The cases filed to date are listed below

(the “Related Actions”):

      1. Lindquist v. NCB Management Services, Inc, Case No. 2:23-cv-01236-KNS (E.D. Pa.
         filed March 30, 2023) (“Lindquist”);

      2. Mardikian v. NCB Management Services, Inc., Case No. 2:23-cv-01246-KNS (E.D. Pa.
         filed March 31, 2023) (“Mardikian”);

      3. Medina v. NCB Management Services, Inc., Case No. 2:23-cv-01270-KNS (E.D. Pa. filed
         March 31, 2023) (“Medina v”);


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       4. Neubauer v. NCB Management Services, Inc., Case No. 2:23-cv-01300-KNS (E.D. Pa.
          filed April 4, 2023) (“Neubauer”);

       5. Palmer v. NCB Management Services, Inc. and Bank of America Corporation, Case No.
          2:23-cv-01315-KNS (E.D. Pa. filed April 6, 2023) (“Palmer”);

       6. Suh v. NCB Management Services, Inc., Case No. 2:23-cv-1338-KNS (E.D. Pa. filed
          April 6, 2023) (“Suh”); and

       7. Meyer v. NCB Management Services, Inc. and Bank of America Corporation, Case No.
          2:23-cv-1340-KNS (E.D. Pa. filed April 6, 2023) (“Meyer”).

III.      ARGUMENT

       A. The Related Actions Should Be Consolidated

          Rule 42(a) of the Federal Rules of Civil Procedure provides:

          If actions before the court involve a common question of law or fact, the court may:
          (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate
          the actions; or (3) issue any other orders to avoid unnecessary cost or delay.

FED. R. CIV. P. 42(a).

          “Rule 42(a) . . . confers upon a district court broad power, whether at the request of a party

or upon its own initiate, to consolidate causes for trial as may facilitate the administration of

justice.” Cartee-Haring v. Cent. Bucks Sch. Dist., Case No. 20-cv-1995, 2021 WL 5506419, at *1

(E.D. Pa. Nov. 24, 2021) (quoting Ellerman Lines, Ltd. v. Atlantic & Gulf Stevedores, Inc., 339 F.

2d 673, 675-76 (3d Cir. 1964)). To this end, courts have recognized that consolidation is

appropriate in data breach cases where two or more cases arise from the same occurrence. See,

e.g., Collins v. Rutter's Inc., Case No. 1:20-cv-00382, 2020 U.S. Dist. LEXIS 52214, at *6 (M.D.

Pa. Mar. 26, 2020) (consolidating two actions, as well as any future actions, arising out of a data

breach and appointing interim co-lead counsel).

          As noted above, the complaints in the seven Related Actions all relate to common factual

allegations and legal theories. They assert multiple common causes of action against a common

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Defendant – NCB – relating to the same factual underpinnings, and seek the same relief in

response to the same event (the data breach). The Related Actions each seek certification of similar

overlapping classes and allege that Plaintiffs and class members suffered harm because their

sensitive personal information was exposed to third parties without their authorization.

Consolidation of the Related Actions is warranted because it will simplify discovery, pretrial

motions, class certification issues, and other case management issues, especially given that the

cases are at their procedural inception, and it will avoid delay, duplicative litigation efforts, and

the risk of inconsistent rulings, without prejudicing any party. As such, Plaintiffs respectfully

request that the Court consolidate them. See, e.g., Nelson v. Connexin Software Inc., Case No.

2:22-cv-04676, 2023 WL 2721657, at *1 (E.D. Pa. Mar. 30, 2023) (“Connexin”) (noting that nine

data breach class actions filed in this Court had been consolidated).

   B. The Court Should Appoint Interim Co-Lead Class Counsel

            1. Legal Standard Under Fed. R. Civ. P. 23(g)(3)

       Federal Rule of Civil Procedure 23(g)(3) provides “[t]he court may designate interim

counsel to act on behalf of a putative class before determining whether to certify the action as a

class action.” FED. R. CIV. P. 23(g)(3). Federal Rule of Civil Procedure 23(g)(4) mandates that

class counsel “must fairly and adequately represent the interests of the class.” F ED. R. CIV. P.

23(g)(4).

       “Rule 23(g)(3) of the Federal Rules of Civil Procedure provides that the Court ‘may

designate interim counsel to act on behalf of a putative class before determining whether to certify

the action as a class action.’” In re Shop-Vac Mktg. & Sales Practices Litig., MDL No. 2380, 2013

U.S. Dist. LEXIS 7023, at *6 (M.D. Pa. Jan. 17, 2013) (quoting Fed. R. Civ. P. 23(g)). Early

appointments are especially beneficial in complex cases because they help to “clarif[y]


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responsibility for protecting the interests of the class during precertification activities, such as

making and responding to motions, conducting any necessary discovery, moving for class

certification, and negotiating settlement.” Manual, § 21.11 ; see e.g., Tolmasoff v. General Motors,

LLC, Case No. 16-cv-11747, 2016 U.S. Dist. LEXIS 85101, at *27 (E.D. Mich. June 30, 2016)

(appointing interim class counsel where competing cases “may follow”).

       Federal Rule of Civil Procedure 23(g)(1)(A), which addresses the appointment of class

counsel, provides the factors the Court must consider:

       (i)    the work counsel has done in identifying or investigating potential claims in
              the action;

       (ii)   counsel’s experience in handling class actions, other complex litigation, and
              the types of claims asserted in the action;

       (iii) counsel’s knowledge of the applicable law; and

       (iv)   the resources that counsel will commit to representing the class.

FED. R. CIV. P. 23(g)(1)(A)(i) – (iv). See In re Shop-Vac Mktg. & Sales Practices Litig., 2013 U.S.

Dist. LEXIS 7023, at *6 (“The same factors governing the appointment of class counsel [at the

class certification stage] apply when appointing interim class counsel.”).

       As discussed below, each of the relevant Rule 23(g) factors demonstrate that Proposed

Interim Co-Lead Class Counsel (comprised of Benjamin F. Johns of Shub & Johns LLC, Joseph

M. Lyon of The Lyon Law Firm, LLC, and Christian Levis of Lowey Dannenberg, P.C.), along

with Plaintiffs’ Liaison Counsel (Charles E. Schaffer of Levin Sedran & Berman, LLC) and a

supporting Plaintiffs’ Steering Committee, are best able to “fairly and adequately represent the

interests of the class.” FED. R. CIV. P. 23(g)(4).




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                    i. A Three-Firm Interim Co-Lead Class Counsel with Liaison Counsel
                       and Four-Firm Plaintiffs’ Steering Committee is an Appropriate
                       Structure Given the Complexity of the Claims

       Plaintiffs have reached a consensus on candidates for the position of Interim Co-Lead Class

Counsel, Plaintiffs’ Liaison Counsel and members of the Plaintiffs’ Sterring Committee. Through

a series of good-faith, collaborative discussions, the Plaintiffs endorsed the combination of

attorneys listed and discused below, believing this team to be “best able” to represent the interests

of the putative class while ensuring that tasks are performed efficiently and in a timely manner.

All Plaintiffs’ counsel believes that the proposed structure is the most effecient way to successfully

litigate the consolidated action and receive the best recovery for Plaintiffs and the class. Given

the complexity of the claims, the number of claims alleged, and the sophistication of the clients

involved, the three-tiered structure will maximize recovery, while ensuring efficient prosecution

of the claims.

       Because Defendants are large corporations with substantial resources and top-tier

representation, the proposed structure also ensures that Plaintiffs will have the necessary resources

to litigate the consolidated action. By appointing a three firm Interim Co-Lead Class Counsel, a

Plaintiffs’ Liaison Counsel and four firm Plaintiffs’ Steering Committee, Plaintiffs will have the

essential lawyers and capital needed to oppose these corporate defendants.

       Each firm selected to serve in the proposed structure will play a specific, yet vital role in

the prosecution of the Action. During all phases of the litigation, Interim Co-Lead Class Counsel,

along with Plaintiffs’ Liaison Counsel, will: (i) organize and supervise the efforts of Plaintiffs’

counsel in a manner to ensure that the necessary pretrial preparation is conducted effectively,

efficiently, expeditiously, and economically; (ii) delegate work responsibilities and monitor the

activities of all Plaintiffs’ counsel to assure that schedules are met and unnecessary expenditures


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of time and expense are avoided; (iii) speak for Plaintiffs at all court conferences and hearings;

(iv) initiate and conduct discussions and negotiations with counsel for defendants on all matters,

including settlement; (v) determine (after consultation with other co-counsel as may be

appropriate) and present in briefs or oral argument to the Court and opposing parties the position

of the Plaintiffs on all matters arising during the proceedings; (vi) enter into stipulations with

opposing counsel as necessary for the conduct of the litigation; (vii) select, consult with, and

employ experts, as necessary, for Plaintiffs; (viii) initiate and conduct discovery on Plaintiffs’

behalf, and coordinate its efficiency; (ix) serve as the primary contact for all communications

between Plaintiffs and Defedants; (x) coordinate the work of preparing and presenting all of

Plaintiffs’ claims and otherwise coordinate all proceedings; (xi) encourage and enforce efficiency

among all Plaintiffs’ counsel; (xii) assess Plaintiffs’ counsel for the costs of the Action; (xiii)

consult with Plaintiffs’ and Steering Committee to fulfill their obligations as Interim Co-Lead

Class Counsel and/or Liaison Counsel shall direct; and (xiv) perform such other duties in

connection with prosecuting the claims in this action.

       In addition to the duties discussed above, Plaintiffs’ Liaison Counsel will also be

responsible for performing the duties and responsibilities described in the Manual, §10.221,

including facilitating communications with and among Plaintiffs’ counsel and fulfilling such other

duties as requested by the court or Interim Co-Lead Class Counsel. Plaintiffs’ Liaison Counsel

will also assume responsibility for the following: (i) receiving orders, notices, correspondence,

and telephone calls from the court and the clerk of the court on Plaintiffs’ behalf; (ii) preparing

and transmitting copies of such orders and notices on Plaintiffs’ behalf; (iii) maintaining complete

files with copies of all documents served and make such files available to defense counsel on

request; (iv) maintaining and making available to all counsel and the Court an up-to-date service


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list; and (v) accepting service for all plaintiffs in all cases of notices, orders, pleadings, motions,

discovery, and memoranda. Liaison Counsel will also handle administrative matters, as well as

any substantive mattersin conjunction with Interim Co-Lead Classs Counsel. The proposed Co-

Leads and Liaison Counsel will ensure efficiency by splitting tasks among themselves, and will

seek assistance from memmebrs of the Sterring Committee as necessary through the use of

specific, task-oriented, work assignments.

                   ii. Proposed Interim Co-Lead Class Counsel, Plaintiffs’ Liaison Counsel,
                       and Plaintiffs’ Steering Committee Members Performed Substantial
                       Work in Investigating this Action

       Under the first Rule 23(g)(1)(A) factor, Proposed Interim Co-Lead Class Counsel, Plaintiffs’

Liaison Counsel, and Plaintiffs’ Steering Committee members have committed appropriate, yet

substantial, time and resources to organizing and working toward the advancement of this

litigation. This work undertaken to date includes investigating and researching the potential legal

theories and claims at issue, and researching and reviewing information relating to the factual

underpinnings of the data breach and this litigation, and communicating with affected persons

impacted by the Data Breach, and retained clients. See, e.g., April 13, 2023 Declaration of

Benjamin F. Johns (“Johns Decl.”) at ¶¶ 2-4; April 13, 2023 Declaration of Joseph M. Lyon

(“Lyon Decl.”) at ¶ 9; April 13, 2023 Declaration of Christian Levis (“Levis Decl.”) at ¶ 5.

       These firms continue to perform substantial work that has been (and will be) valuable to

the class as the case moves forward. This includes, but is not limited to: (a) reviewing consumer

communications concerning the data breach; (b) engaging in ongoing communications with

putative class members; (c) investigating the scope of the data breach’s consequences, and

Defendants’ public response regarding the same; (d) researching potential claims arising from the

data breach and defenses thereto; and (e) using this research to begin preparing a detailed,


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consolidated class action complaint. See, e.g., Johns Decl. at ¶¶ 2-3; Lyon Decl. at ¶ 9 Levis Decl.

at ¶ 5.

          Proposed Interim Co-Lead Class Counsel, Plaintiffs’ Liaison Counsel, and Plaintiffs’

Steering Committee members have conducted all of the work necessary to prosecute this

consolidated litigation thus far, and they stand ready, willing, and able to continue to devote the

substantial effort and resources (including the advancement of costs) necessary for advancing the

claims of Plaintiffs and the proposed class. See, e.g., Johns Decl. at ¶ 13; Lyon Decl. at ¶ 9; Levis

Decl. at ¶ 10.

                   iii. Proposed Interim Co-Lead Class Counsel, Plaintiffs’ Liaison Counsel,
                        and Plaintiffs’ Steering Committee Members Have Substantial
                        Knowledge About and Are Experienced in Leading and Successfully
                        Resolving Data Privacy Class Actions

          Proposed Interim Co-Lead Class Counsel, Plaintiffs’ Liaison Counsel, and Plaintiffs’

Steering Committee members also satisfy the second and third Rule 23(g)(1)(A) factors. Data

breach cases present unique and novel issues of fact and law that are always evolving. See, e.g.,

Gordon v. Chipotle Mexican Grill, Inc., Case No. 17-cv-1415, 2019 WL 6972701, at *1 (D. Colo.

Dec. 16, 2019) (“Data breach cases… are particularly risky, expensive, and complex.”); Fulton-

Green v. Accolade, Inc., Case No. 18-cv-274, 2019 WL 4677954, at *8 (E.D. Pa. Sept. 24, 2019)

(“This is a complex case in a risky field of litigation because data breach class actions are uncertain

and class certification is rare.”). Because data breach cases require an understanding of the

technical issues of data hacking, data privacy measures, and industry standards, appointing interim

co-lead class counsel who are experienced in such complex class action litigation, including data

breach litigation and related issues, is in the best interest of the Class. See Outten v. Wilmington

Tr. Corp., 281 F.R.D. 193, 200 (D. Del. 2012) (“Experience and knowledge of the law is of the

utmost importance when determining lead counsel.”). Proposed Co-Lead Counsel, Plaintiffs’
                                                  9
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Liaison Counsel, and Plaintiffs’ Steering Committee members have extensive experience leading

and litigating data privacy matters against large corporate defendants such as Apple, Google,

Wawa, Chipotle, GameStop. See Section III.B.1.iii., infra.

       Mr. Johns, Mr. Lyon and Mr. Levis have also worked effectively together in numerous

other matters. For example, Mr. Johns and Mr. Levis served together as court-appointed interim

co-lead counsel in a consumer data breach class action in the Middle District of Pennsylvania. See

In re Rutter's Inc. Data Sec. Breach Litig., 511 F. Supp. 3d 514 (M.D. Pa. 2021) (largely denying

the defendant’s motion to dismiss). Mr. Johns and Mr. Levis are also presently working

cooperatively as co-lead counsel for the consumer and financial institution tracks, respectively, in

the In re Wawa Data Security Litigation, Case No. 2:19-cv-06019-GEKP (E.D. Pa.), a highly-

publicized payment card data breach case pending before Judge Pratter in this District. Mr. Johns

and Mr. Levis are also working together in In re Hope College Data Security Breach Litigation,

Case No. 1:23-cv-00109 (PLM) (PJG) (W.D. Mich.), in which they represent a class of consumers

who were impacted in a data breach at Hope College that resulted in unauthorized access to highly

sensitive personally identifiable information of approximately 156,783 individuals. And Mr. Johns

and Mr. Lyon are presently serving on the Plaintiffs’ Steering Committee on another data breach

pending in Wisconsin. Dusterhoft v. One Touch Point, Inc, Case No. 22-cv-0882 (BHL), 2022

U.S. Dist. LEXIS 180195 (E.D. Wis. Sep. 29, 2022).

       As demonstrated below, Mr. Johns, Mr. Lyon and Mr. Levis are each highly qualified to

lead the consolidated action and should be appointed as Interim Co-Lead Class Counsel pursuant

to FED. R. CIV. P. 23(g). See In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 702

(S.D. Fla. 2004) (stating that the “most persuasive” factors in choosing lead counsel may be

proposed counsel’s “experience in, and knowledge of, the applicable law in this field”).


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          The qualifications and experience of each member of the proposed leadership team are

further summarized below.

                             Benjamin F. Johns of Shub & Johns LLC2

           Mr. Johns is a founding partner at Shub & Johns LLC, which is headquartered in West

    Conshohocken, Pennsylvania. He was previously an equity partner with the law firm Chimicles

    Schwartz Kriner & Donaldson-Smith, LLP in Haverford, Pennsylvania where he worked for 17

    years until he amicably left in November 2022. He is qualified to serve as Interim Co-Lead

    Class Counsel in this litigation due to his history of successfully prosecuting complex class

    action cases (including data breach litigation), and because of his significant involvement in the

    prosecution of the instant case. He was appointed as one of four co-lead counsel to represent

    the consumer class by Judge Pratter in In re Wawa, Inc. Data Security Litig., Lead Case No.

    2:19-cv-06019-GEKP (E.D. Pa.), and recently argued an appeal in that matter in the Third

    Circuit. More recently, Mr. Johns was appointed as one of two co-lead counsel by Judge Wolson

    in Connexin, supra. He has also been appointed to serve as co-lead counsel in other data breach

    cases across the country. See, e.g., Perdue v. Hy-Vee, Inc., Case No. 1:19-cv-01330-(MMM)

    (JEH), 2021 U.S. Dist. LEXIS 12691 (C.D. Ill. Jan. 25, 2021); Kyles v. Stein Mart, Inc., Case

    No. 1:19-cv-00483 (CFC), 2021 U.S. Dist. LEXIS 202674 (D. Del. Oct. 19, 2021); Gordon et

    al. v. Chipotle Mexican Grill, Inc., Case No. 17-cv-01415 (CMA) (SKC), 2019 U.S. Dist.

    LEXIS 215430 (D. Colo. Dec. 16, 2019); Bray et al. v. GameStop Corp., Case No. 1:17-cv-

    01365 (JEJ), 2018 U.S. Dist. LEXIS 226221 (D. Del. Dec. 19, 2018); In re Rutter’s Inc. Data

    Security Breach Litig., Case No. 1:20-cv-382 (CCC) (KM) (M.D. Pa.); In re Keystone Data

    Breach Litig., Case No. 1:22-cv-01643 (CCC) (M.D. Pa.). He is presently serving as co-lead



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    Shub & Johns LLC’s firm resume is attached as Exhibit1 to the Johns Decl.
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    counsel in Kostka v. Dickey’s Barbeque Rests., Case No. 3:20-cv-3424-K (N.D. Tex.), where a

    $2.35 million settlement in a consumer data breach is awaiting final approval.

           Other examples of recent cases in which Mr. Johns acted as a lead or co-lead counsel

    are:

              In re: MacBook Keyboard Litigation, No. 18-cv-2813 (N.D. Cal.) (Mr. Johns took
               and defended numerous depositions and successfully argued two motions to dismiss
               and co-argued plaintiffs’ motion for class certification in this case which has settled
               for a $50 million common fund);
              In re Nexus 6P Product Liability Litig., No. 5:17-cv-02185 (BLF) (N.D. Cal.)
               (Mr. Johns served as co-lead counsel – and argued two of the motions to dismiss –
               in this defective smartphone class action. The case resulted in a settlement valued
               at $9.75 million, which Judge Beth Labson Freeman described as “substantial” and
               an “excellent resolution of the case.”);
              In re MyFord Touch Consumer Litig., No. 13-cv-03072 (EMC) (N.D. Cal.) (Mr.
               Johns served as court-appointed co-lead counsel in this consumer class action
               concerning allegedly defective MyFord Touch infotainment systems, which settled
               for $17 million shortly before trial); and

                           Joseph M. Lyon of The Lyon Law Firm, LLC3

           Joseph M. Lyon is the founder of The Lyon Law Firm, a Cincinnati, Ohio based law firm,

representing individuals nationwide in class action and product liability litigation. With respect to

data breach cases, Mr. Lyon has participated as co-lead counsel, as a member of Plaintiffs’ Steering

Committees, or a member of class counsel in over seventy (70) data breach class actions

throughout the country, many of which include cases involving similar data security issues and

claims brought in this matter. He is familiar with the complex law, necessary discovery, and

settlement structures to successfully co-lead this litigation. See Exhibit C, Lyon Decl., ¶ 7 (“Lyon

Decl.”); Exhibit 1; The Lyon Law Firm, LLC’s profile and CV.




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    The Lyon Law Firm, LLC’s firm resume is attached as Exhibit 1 to the Lyon Decl.
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        Mr. Lyon’s experience in specific data breach cases includes, among others: Devine v.

Health Aid of Ohio, Inc., Case No. CV-21-948117 (Cuyahoga County Court of Common Pleas,

Ohio; co-lead counsel; Final Approval granted related to health care provider creating claims made

settlement valued in excess of $12.5 million); Migliaccio v. Parker Hannifin Corp., Case No. 1:22-

cv-00835 (N.D. Ohio; interim co-lead counsel; preliminary approval granted for $1.75 million

common fund); In re Southern Ohio Health Systems Data Breach, No. A2101886 (Hamilton

County, Ohio; co-lead counsel; final approval granted for $1.95 million common fund arising from

data breach of health systems); Engle v. Talbert House, No. A 2103650 (Hamilton County, OH;

co-lead counsel; final approval for data breach class action involving unauthorized disclosure of

health care data establishing claims made process valued in excess of $49.84 million); Culbertson

v. Deloitte Consulting LLP, Case No. 1:20-cv-3962 (S.D.N.Y.) (Plaintiffs’ class counsel and

discovery committee; final approval of common fund for $4.95 million arising from data breach

of unemployment benefits data system); In re 20/20 Eye Care Network Inc. Data Breach

Litigation, Case No. No. 21-cv-61275 (RAR) (S.D. Fla.) (Executive Committee) (preliminary

approval granted for $3.0 million common fund); and Baker v. ParkMobile, LLC, Case No. 1:21-

cv-02182 (N.D. Ga.) ( Steering Committee) (data breach impacting over 21 million customers).

See Lyon Decl., ¶ 7; Exhibit 1; The Lyon Law Firm, LLC’s profile and CV.

       In addition to data breach class action matters, Mr. Lyon has served as co-lead counsel in

other privacy matters, such as Hawkins v. Navy Federal Credit Union, Case No. 1:19-cv-01186

(E.D. VA) (co-lead counsel; final approval granted for TCPA privacy class action common fund

for $9,250,000). See Lyon Decl. ¶ 8. Moreover, Mr. Lyon also extensive experience handling

complex litigation and discovery matters. Notably, he has represented thousands of individual

plaintiffs in over forty (40) Multidistrict (“MDL”) product liability matters where he has helped


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develop both common benefit evidence and case-specific evidence to support the general liability

claims. Mr. Lyon served on leadership committees in: MDL No. 1748 In re Testosterone

Replacement Therapy Products Liability Litigation (member of discovery committee); MDL No.

2327 In re Ethicon, Inc. Pelvic Repair Systems Product Liability Litigation (member of discovery

committee); In re Actos (Pioglitazone) Products Liability Litigation -Wisniewski v. Takeda

Pharmaceuticals et al., Case No. 120702272 (Co-Counsel for bellwether trial in Philadelphia

County. Jury awarded $2.34 million in compensatory damages.); and MDL No, 1598 In re

Ephedra Products Liability Litigation (member of discovery committee). Finally, Mr. Lyon has

served as lead counsel in numerous catastrophic injury cases involving medical malpractice,

industrial accidents, automotive product liability, firearm product liability, and toxic exposure.

These complex cases required extensive motion practice, discovery and courtroom skills that will

help advance the interests of this class. See Lyon Decl. ¶ 6.

                          Christian Levis of Lowey Dannenberg, P.C. 4

         Christian Levis is a partner in Lowey Dannenberg, P.C.’s New York office and head of

the firm’s data breach and privacy practice group. An avid computer programmer with

experience developing both iOS and Android apps, Mr. Levis is involved in leading the

prosecution of several consumer privacy actions against some of the largest technology

companies in the world. See, e.g., Frasco v. Flo Health, Inc., et al., Case No. 3:21-cv-757 (JD)

(N.D. Cal.) (Mr. Levis serves as court appointed co-lead counsel in a class action representing a

class of consumers alleging that Flo collected and disclosed their intimate health data to some of

the largest data analytics and advertising companies); Wesch v. Yodlee, Inc., Case No. 20-cv-

05991 (N.D. Cal.) (Lowey represents a class of consumers whose financial data Yodlee collected



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    Lowey Dannenberg, P.C.’s firm resume is attached as Exhibit 1 to the Levis Decl.
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and sold without consent through software incorporated in third party applications); In re Google

Assistant Privacy Litigation, Case No. 19-cv-04286 (N.D. Cal.) (Lowey serves as court-certified

co-lead class counsel representing a class of consumers against Google arising out of Google’s

unlawful and intentional recording of confidential communications through its Google Assistant

software); Lopez v. Apple, Inc., Case No. 19-cv-04577 (N.D. Cal.) (Lowey represents a class of

consumers alleging that Apple unlawfully and intentionally recorded confidential

communications without consent through its Siri-enabled devices); In re Apple Processor

Litigation, Case No. 18-cv-00147 (N.D. Cal.) (Lowey currently serves as co-lead class counsel in

a class action against Apple alleging plaintifs were harmed by Apple’s failure to disclose defects

in its central processing units which exposed users’ sensitive personal information to

unauthorized third parties).

       Mr. Levis has also levereged his technological experience as lead or co-lead counsel in

class actions on behalf of consumers and financial institutions adversely impacted by deficient

data security and handling practices. This includes major payment card data breaches. See, e.g., In

re Wawa Data Security Litigation, Case No. 19-cv-6019-GEKP (E.D. Pa.) (Mr. Levis serves as

interim co-lead class counsel on behalf of class of financial institutions in data breach

compromising tens of millions of individuals personal information; secured a $28.5 million

settlement for the class; pending preliminary approval); In re Rutter’s Inc. Data Security Breach

Litigation, Case No. 1:20-cv-00382 (Mr. Levis served as interim co-lead class counsel, along with

Mr. Johns, on behalf of consumers impacted by data breach at Rutter’s gas station chain).

       As well as data breaches involving malware infected mobile apps and websites, as well as

unauthorized access to networks. See, e.g., Barr v. Drizly, LLC, et al., Case No. 1:20-cv-11492 (D.

Mass.) (Lowey served as court-appointed class counsel on behalf of millions of consumers


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impacted by a data breach at Drizly, one of the largest alcohol delivery companies. The court

granted final approval of a settlement in which Drizly agreed to pay a total of no less than $1.05

and no more than $3.15 million, and issue service credits up to $447,750 in addition to

implementing and maintaining sufficient data security measures to prevent future data breaches);

Hozza v. PrimoHoagies Franchising, Inc., Case No. 20-cv-4966 (D.N.J.) (Lowey served as court-

appointed class counsel on behalf of consumers impacted by a data breach at PrimoHoagies. On

March 22, 2023, the court granted final approval in which PrimoHoagies provided cash payments

and credit monitoring to the class); In re Hope College Data Security Breach Litigation, Case No.

1:23-cv-00109 (PLM) (PJG) (W.D. Mich.) (Lowey represents a class of consumer against Hope

College, who experienced a data breach of approximately 156,783 individuals).

       And data breaches involving insurance company’s quote portals unlawfully disclosing

driver’s license information under the DPPA, akin to DPPA claims brought in some of the Related

Actions. See, e.g., In re USAA Data Security Litigation, Case No. 21-cv-05813 (VB) (S.D.N.Y.)

(Lowey serves as interim co-lead class counsel in an action that alleges USAA allowed

unauthorized third parties to intentionally target and improperly obtain driver’s license numbers);

Rand v. The Travelers Indemnity Company, Case No. 7:21-cv-10744 (VB) (S.D.N.Y.) (Lowey

represents a class of consumers that alleges Travelers allowed unauthorized third parties to

intentionally target and improperly obtain driver’s license numbers).

       Beyond just data breach and privacy cases, Mr. Levis has a proven track record of securing

extraordinary results for Class members in complex class actions. For instance, Mr. Levis served

with two other Lowey attorneys as court-appointed co-lead counsel representing Commonwealth

of Pennsylvania Treasurer Joseph Torsella in In re GSE Bonds Antitrust Litig., No. 19-cv-1704

(S.D.N.Y.) (“GSE Bonds”), a class action against sixteen of the world’s largest banks that allegedly


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conspired to fix the prices of debt securities issued by government sponsored entities for almost a

decade. Operating under an extremely tight litigation schedule, Mr. Levis led the Lowey team

responsible for preparing the case for trial. Plaintiff settled the action with Defendants for more

than $386 million. Mr. Levis, as well as other Lowey attorneys, received the American Antitrust

Institute award for Outstanding Antitrust Litigation Achievement in Private Law Practice as

recognition for these significant results. Mr. Levis has also been directly involved in achieving

similar results in other large, complex class cases, such as: Sullivan v. Barclays plc, Case No. 13-

cv-2811 (PKC) (S.D.N.Y.) (Lowey serves co-lead counsel representing CalSTRS in this proposed

class action against 12 banks and brokers for the alleged manipulation of the Euro Interbank

Offered Rate. Settlements approved to date bring the total amount recovered for investors to more

than $491.5 million) and Laydon v. Mizuho Bank, Ltd., Case No. 12-cv-3419 (GBD) (S.D.N.Y.)

(Lowey is sole lead counsel of this proposed class action alleging that a group of 44 banks and

brokers conspired to manipulate the Yen LIBOR and the Euroyen TIBOR benchmark, interest

rates. The court has granted final approval to $307 million in settlements).

       Mr. Levis also manages Lowey’s e-discovery infrastructure and has substantial experience in

the use of analytics and technology-assisted document review in large class actions. See Levis Decl. ¶

12. For example, Mr. Levis developed “An Analytics Cookbook for Complex Cases” that was

presented at a leading industry conference after this workflow saved the class in Laydon v. Mizuho

Bank, Ltd., No. 12-cv-3419 (GBD) (S.D.N.Y.) an estimated $2.5 million in time and expenses. Id. Mr.

Levis leveraged these same techniques in the GSE Bonds case, to prioritize the review of more than

9.1 million pages of documents on an extremely tight discovery schedule. Id. These skills are essential

in large privacy cases where discovery tends to involve highly technical issues, the depositions of

software engineers and other technology professionals, and the review of thousands (if not millions)

of documents.

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                   iv. Proposed Interim Co-Lead Class Counsel Are Committed to
                       Representing and Advancing the Interests of the Class

        As to the fourth, Rule 23(g)(1)(A) factor, Proposed Interim Co-Lead Class Counsel along

with Plaintiffs’ Liaison Counsel and Plaintiffs’ Steering Committee members are willing and able

to expend the resources necessary to ensure the vigorous prosecution of the claims asserted by the

Plaintiffs in these cases. See, e.g., Johns Decl. at ¶ 16; Lyon Decl. at ¶ 9; Levis Decl. at ¶¶ 9-10.

All firms are well capitalized and have years of experience prosecuting and self-funding complex

class action litigation, including actions against some of the largest companies in the world. See,

e.g., Johns Decl. at ¶ 13 Lyon Decl. at ¶ 9; Levis Decl. at ¶ 11. Each firm has advanced millions

of dollars to fund expenses in several of its cases, demonstrating a commitment to providing the

resources and staffing needed to successfully prosecute class actions. Proposed Interim Co-Lead

Class Counsel are also willing to advance all costs to prosecute this action and see it through

completion, including advancing costs for document hosting, expert witnesses (both for liability

and damages if necessary), and for trial. See, e.g., Johns Decl. at ¶ 16; Lyon Decl. at ¶ 9; Levis

Decl. at ¶ 11.

        Mr. Johns, Mr. Lyon, and Mr. Levis along with their firms have a proven track-record of

success leading complex class action cases, including data privacy matters. The experience here

will be no different. Each attorney understands the time, energy, and skill necessary to lead this

litigation and all have committed the resources required to ensure the effective and efficient

representation of the Class members. In fact, Proposed Interim Co-Lead Class Counsel have

already demonstrated their commitment to this litigation by devoting substantial resources to this

litigation and coordinating among themselves to file this leadership proposal. See, e.g., Johns Decl.

at ¶ 4; Levis Decl. at ¶ 14.



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       Proposed Interim Co-Lead Class Counsel also brings its state-of-the-art in-house e-

discovery infrastructure and proprietary algorithms to help speed up discovery and save the class

time and money. See Levis Decl. at ¶ 12. For example, an ISO 27001 certified law firm, Lowey

Dannenberg maintains the unique capability to conduct end-to-end e-discovery completely in-

house on its own secure discovery environment, a capability it developed and applied in numerous

complex cases involving millions of documents, including most recently the In re Google Assistant

privacy class action.5 Id. at ¶ 13. Proposed Interim Co-Lead Class Counse’s ability to securely

conduct discovery in-house is especially useful in a case of this nature, where the data at issue is

particularly sensitive. Id. Their firms possess the resources needed to prosecute this case to a

successful resolution and will do so here.

       Just as they have previously done, Proposed Interim Co-Lead Class Counsel are committed

to working cooperatively and efficiently on behalf of Plaintiffs and the proposed class here. As

Proposed Interim Co-Lead Class Counsel’s history of organization shows, they are inclusive.

Those efforts of inclusion resulted in a group of attorneys working toward the proper goal—a fair,

reasonable, and adequate result. Each of these attorneys would be independently qualified to serve

as co-lead class counsel and have significant experience in class actions, including data breach

class actions.

       In sum, Proposed Interim Co-Lead Class Counsel, along with Plaintiffs’ Liaison Counsel

and Plaintiffs’ Steering Committee members, are committed to pursuing the best interests of



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 This technology has resulted in significant cost-savings. For example, in Sullivan v. Barclays
plc, Lowey litigated Sherman Act claims against eight multi-national banks on behalf of a class
of investors for five years and requested only $155,362.11 in discovery-related expenses from a
$491 million settlement. See Sullivan v. Barclays plc, No. 13-cv-2811 (PKC), ECF Nos. 411,
483 (S.D.N.Y.); see also GSE Bonds, No. 19-cv-1704 (JSR), ECF No. 159 (S.D.N.Y.) (“Lowey
Dannenberg represents that it maintains its own e-discovery infrastructure. Again, this is not a
dispositive factor, but it weighs slightly in []Lowey’s favor.”).
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Plaintiffs and the proposed class in an efficient manner. They understand the time and resources

necessary to pursue this action to a successful resolution. Their firms have already made significant

investments of resources and time into the prosecution of these claims. Their firms possess the

resources needed to prosecute this case to a successful resolution and will do so here.

                   v. Additional Factors Supporting Appointment Rule 23(g)(1)(B)

       The Court may also consider “any other matter pertinent to counsel’s ability to fairly and

adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). One consideration here

is that proposed Interim Co-Lead Counsel reached consensus among counsel who have filed cases

in this Court to date about the proposed leadership structure. Rather than file competing leadership

applications in as many as seven separate actions, counsel for all Plaintiffs met and conferred and

agreed that it is in the best interest of the Plaintiffs and putative class members to form a unified

front and cooperatively litigate the claims arising from the data breach in this action. This private

ordering further supports appointing Messrs. Johns, Lyon and Levis as Interim Co-Lead Class

Counsel. See Manual, §§ 10.22, 21.272.

       Indeed, this cooperative approache was recently endorsed in Connexin, supra, where Judge

Wolson’s found that “the ability of a large group of lawyers to organize themselves and cooperate

warrants their appointment as interim lead counsel.” Connexin, at *1. The Court there found that

the ability of counsel to cooperate with each other because it “will make for a more efficient

prosecution of the case and lead to better outcomes for the putative class.” Id. at *2. “In addition,

when the cooperation leads to inclusion of a substantial number of the plaintiffs’ lawyers, it

enhances the potential value to the class because it ensures the most creativity.” Id. Ultimately,

Judge Wolson appointed a proposal submitted by Mr. Johns and others because it had a group of

lawyers serving as co-lead counsel at the top, but also “incorporates other lawyers who filed cases


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and presumably would have liked to be Interim Lead Counsel themselves.” Id. The undersigned

respectfully submit that the Court should likewise endorse that approach again here.

                  vi. The Court Should Appoint Mr. Schaffer as Plaintiffs’ Liaison Counsel

       District Courts routinely appoint Liaison Counsel in data breach and privacy class actions

including in this District. See, e.g., In re Wawa, Inc. Data Security Litig., Case No. 2:19-cv-06019-

GEKP, ECF No. 120 (E.D. Pa) (appointing three co-lead counsel and a liaison counsel for

Financial Institutional Plaintiffs). This is also consistent with the practice in other data breach

cases. See, e.g., In re Equifax, Inc. Customer Data Security Breach Litig., Case No. 17-md-2800

(N.D. Ga.); In re Marriott International Customer Data Security Breach Litigation, Case No. 19-

md-2879 (D. Md.); In re: The Home Depot, Inc. Customer Security Breach Litig., Case No. 14-

md-02583 (N.D. Ga.); see also Manual, § 10.22.

       Charles E. Schaffer is a partner with Levin Sedran & Berman, LLC (“Levin Sedran”) based

in Philadelphia. With over 25 years of experience Mr. Schaffer is a nationally-recognized leader

in complex and class action litigation, having been appointed as Lead or Co-Lead counsel or as a

PSC member on a regular basis by federal courts across the country including in consumer class

actions involving defective products, environmental contamination, data breaches and unfair and

deceptive practices. See April 13, 2023 Affidavit of Charles E. Schaffer attached as Exhibt A; see

generally, LSB resume attached as Exhibit “1” Through 35 years of serving its clients, Levin

Sedran’s attorneys have gained national recognition for their experience and skill and are

frequently called upon to lead some of the largest class actions and mass torts in the country See,

e.g., In re: Diet Drug Product Liability Litigation, MDL No. 1203 (E.D. Pa.) (As Co-Lead Counsel

obtained a $6.75 billion-dollar settlement on behalf of consumers who ingested Fen Phen); In re

Nat’l Football League Players’ Concussion Injury Litig., MDL No. 2323 (E.D. Pa.) (As Subclass


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Counsel working along with Lead Counsel obtained an uncapped settlement valued in excess of

$1 billion dollars on behalf of NFL football players); In re Chinese-Manufactured Drywall Product

Liab. Litig., MDL No. 2047 (E.D. La.) (As Lead Counsel obtained inter-related settlements

involving various suppliers, builders, installers, insurers and manufacturers of Chinese drywall

valued in excess of $1 billion dollars); In re Oil Spill by the Oil Rig “Deepwater Horizon” in the

Gulf of Mexico, on April 20, 2010, MDL No. 2179 (E.D. La.) (Special Counsel to the Plaintiffs’

Fee and Cost Committee); In re Air Cargo Shipping Servs. Antitrust Litig., MDL No. 1775

(E.D.N.Y.) (As Co-Lead counsel in the decade long air cargo antitrust litigation Levin Sedran

obtained 28 inter-related settlements against air cargo service providers totaling $1.2 billion

dollars). Ibid.

        Mr. Schaffer has been appointed to seventeen (17) leadership positions in MDLs by various

different district courts across the nation. Ibid. In addition, he has served in over forty (40)

leadership positions in non-mdl complex litigation. Ibid. He has concentrated his practice in

representing consumers victimized by defective products, securing relief for consumers that are

victims of data breaches and unfair or deceptive practices, as well as working cooperatively with

others. Ibid. Through smart, efficient, strategy and tailored creative problem-solving, Mr. Schaffer

and Levin Sedran has recovered billions of dollars for victims of environmental disasters, defective

products, data breaches and unfair or deceptive practices. Ibid. Mr. Schaffer’s career highlights

include inter alia :

       Appointed as Co-Lead counsel in Pollard v. Remington Arms Company, Case No. 4:13-
        cv-00086 (ODS) (W.D. Mo.), on behalf of over one million consumers who purchased
        firearms equipped with a defective fire control mechanism which would allow the firearm
        to discharge without pulling the trigger and placing the user of the firearm as well as
        bystanders at a grave risk of injury and even death. A nationwide settlement was achieved
        requiring Remington to repair and retrofit all firearms to prevent the guns from firing
        without a trigger pull which prevented injuries and deaths from accidental discharges. The
        settlement value was $97 million.

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      Appointed and served as member of three-person executive committee, in In re Wells
       Fargo Insurance Marketing Sales Practices Litigation, MDL No. 2797 (C.D. Cal.), and
       was instrumental in obtaining evidence to establish Wells Fargo unlawfully placing
       duplicative, unnecessary, and overpriced collateral protection policies on their customer’s
       automobile loan accounts. A nationwide settlement in the amount of $423.5 million was
       achieved along with business practice changes.

      Appointed and served as Co-lead and Co-Class Counsel in Armando Herrera v. Wells
       Fargo Bank, Case No. 8:18-cv-00332 (C.D. Cal.), and was instrumental in obtaining
       evidence to establish Wells Fargo unlawfully failed to repay borrowers for prepaid GAP
       insurance when they satisfied or paid off the auto loan prior to maturity, as required by the
       terms of the agreement, and charged unwarranted fees. A nationwide settlement in excess
       of $300 million was achieved along with business practice changes.

      Appointed and served as Co-Lead and Co-Class Counsel in Segebarth v. CertainTeed LLC,
       Case No. 19-5500 (E.D. Pa.), obtaining a national settlement on behalf of consumers with
       defective roofing products. The total value of the settlement benefits available to Class
       Members is valued at $900 million and the value of the enhanced warranty benefits to be
       paid out over the seven-year claims period is $99,138,852.

      Served as liaison counsel and on discovery and settlement committees in In re:
       CertainTeed Siding Litigation, MDL No. 2270 (E.D. Pa), and achieved a $103.9 million
       nationwide settlement on behalf of homeowners with defective fiber cement siding.

      Serving as court-appointed leadership and on committees on behalf of injured
       individuals, public entities, health and welfare funds, corporations and consumers in
       cases of national scope including In re Phillips Recalled CPAP, BI-Level PAP,
       Mechanical Ventilator Products Liability Litigation, MDL No. 3014 (W.D. Pa.)
       (appointed Plaintiffs’ Discovery Liaison Counsel for Phillips and SoClean MDLs); In re:
       Aqueous Film-Forming Foams Products Liability Litigation, MDL No. 2873 (D.S.C.)
       (appointed member of Plaintiffs’ Executive Committee); In Re: Valsartan Losartan and
       Irbesartan Products Liability Litigation, Case No. 1:19-md-02875-RBK-JS (D.N.J.)
       (serving as a member of Third Party Payor Committee); Feezle et al v. Norfolk Southern
       Railway Co. et al (Norfolk Sourthern Train Derailment ), (N.D. OH.) (appointed member
       of Plaintiffs’ Executive Committee) and others.

   Of particular relevance to this litigation, Mr. Schaffer and his firm has extensive experience in

successfully prosecuting and reaching settlments in data breach and privacy cases, including

serving as a member of leadership in In re Target Corporation Customer Data Security Breach

Litigation, MDL No. 2522 (D. Minn.) (retailer compromised consumer data requiring financial

institutions to issue new credit cards, settlement value $39 million settlement for plaintiff financial

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institutions), Green v. Accolade, Inc., Case No. 2:18-cv-00274 (E.D. Pa.) (employer data breach

resulting in compromised employee PII); Kuss v. American Home Patient, Inc. et. al., Case No.

8:18-cv-0248 (M.D. Fla.) (stolen laptops from medical provider compromised patient’s medical

information); Abdelmessih v. Five Below, Inc., Case No 2:19-cv-01487 (E.D. Pa.) (retailer data

breach compromising customers’ PII); In re Hudson’s Bay Company Data Security Incident

Consumer Litigation, Case No. 18-cv-8472 (S.D.N.Y.) (retailer data breach compromised

customers’ electronically-stored PII), Hasehemi v. Bosley, Inc., Case No. 2:21-cv-00946 (C.D

.Ca.) (hair restoration company compromised customers’ electronically stored PII and medical

and/or health information), Culbertson v. Deloitte Consulting LLP, Case No 1:20-cv-3962

(S.D.N.Y) (accounting firm as part of the Pandemic Unemployment Assistance (“PUA”) program

compromised applicants electronically stored PII). In addition, Mr. Schaffer has proescuted many

other data breaches as a member of a litigation team assisting leadership in the prosecution of the

class actions. See, e.g., In re Wawa, Inc. Data Security Litig., Case No. 2:19-cv-06019-GEKP,

(E.D. Pa) (convivence store conglomerate compromised consumer credit card information

requiring financial institutions to issue new credit cards, served as co-chair of third-party discovery

committee for financial track); see also Schaffer Affidavit and Leven Sedran resume. In addition,

Mr. Schaffer and his firm have experience in privacy cases, including serving as Co-Lead Counsel

in Bryd v. Aaron’s Inc., Case No. 11-101 (W.D. Pa.) and Peterson v. Aaron’s Inc., Case No. 1-14-

cv-1919 (N.D. Ga.) (where defendant placed spyware on rental computers) and on the Executive

Committee in In re Carrier IQ, Inc., Consumer Privacy Litigation, Case No. 12-md-1330 (N.D.

Cal.) (where defendant placed software on mobile devices). Ibid.

       As demonstrated above, Mr. Schaffer is well-versed in complex litigation including the

factual and legal nuances of data breach cases and has been involved in all phases of data breach


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litigation, from the initial investigation through obtaining relief for the class through a nationwide

settlement. Based on his complex litigation experience, Mr. Schaffer and his firm are well-

qualified to serve as Liaison Counsel. Along with his class action and mass tort experience, Mr.

Schaffer has an LLM in Trial Advocacy and has extensive experience prosecuting complex

individual actions on behalf of injured individuals in products liability, medical negligence and

drug and medical device actions. He has served as Lead Counsel in these matters and successfully

tried cases to jury verdicts. Undoubtedly, Interim Co-Lead Class Counsel and members of the PSC

will benefit from his insight and experience in prosecuting and trying those actions to jury verdicts

                  vii. The Court Should Also Appoint a Plaintiffs’ Steering Committe

        As noted above, Plaintiffs also respectfully submit that the Court appoint a Plaintiffs’

Steering Committee (“PSC”) comprised of the following four attorneys: Terence R. Coates of

Markovits, Stock & DeMarco, LLC; 6 Mark B. DeSanto of Sauder Schelkopf LLC;7 Danielle Perry

of Mason LLP;8 and Carl Malmstrom of Wolf Haldenstein.9 Each of the Proposed PSC members

and their firms maintain records of success in complex class litigation, including data breach

litigation.

        District courts routinely approve Plaintiff Steering Committees in complex data breach and

privacy class actions. See, e.g., In re: Eskenazi Health Data Incident Litig., Case No. 49D01-2111-

PL-038870 (Ind. Comm. Ct. Jan. 24. 2022) (appointing three lawyers to PSC in class action

involving disclosure of sensitive medical information and other PII/PHI); In re Mednax Servs.,

Inc., Customer Data Sec. Breach Litig., Case No. 21-md-02994 (RAR), 2022 WL 777021, at *1




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  See https://www.msdlegal.com/attorney/coates-terence-r/
7
  See https://www.sauderschelkopf.com/about-us/.
8
  See https://www.masonllp.com/staff/danielle-l-perry/.
9
  See https://www.whafh.com/team/carl-malmstrom/.
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(S.D. Fla. Feb. 22, 2022) (court “adopted the Majority Groups’ proposed leadership structure,

including the creation of the PSC” and “appointed five law firms to the PSC”); In re Sony Gaming

Networks & Customer Data Sec. Breach Litig., Case No. 11-md-2258 (AJB) (MDD), ECF No. 60

(S.D. Cal. Nov. 29, 2011) (appointing two firms as co-lead counsel and a five-firm PSC in data

breach class action lawsuit); In re Experian Data Breach Litig., Case No. 15-cv-01592 (C.D. Cal.)

(appointing multiple co-leads and a plaintiffs’ steering committee).

       C.      The Court Should Set a Schedule for Filing a Consolidated Complaint

       Finally, Plaintiffs propose an expeditious and efficient schedule for the Consolidated

Action. Specifically, they propose filing an operative, Consolidated Class Action Complaint

within forty-five (45) days from the consolidation order. 10 Both defendants would be relieved

from responding to the initial complaints filed in the seven cases in the interim.

IV.    CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully ask the Court to grant their motion

and enter an order: (1) consolidating the Related Actions; (2) appointing Benjamin F. Johns of

Shub & Johns LLC, Joseph M. Lyon of The Lyon Law Firm, LLC, and Christian Levis of Lowey

Dannenberg, P.C. as Interim Co-Lead Class Counsel; (3) appointing Charles E. Schaffer of Levin

Sedran & Berman LLP as Plaintiffs’ Liaison Counsel; (4) appointing Terence R. Coates of

Markovits, Stock & Demarco, LLC, Danielle L. Perry of Mason LLP, Mark B. DeSanto of Sauder

Schelkopf LLC, and Carl Malmstrom of Wolf Haldenstein Adler Freeman & Herz LLC to a

Plaintiffs’ Steering Committee; and (5) approve the proposed deadline for Plaintiffs to file their

Consolidated Class Action Complaint. A proposed order granting this relief is submitted herewith.



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  See Rutter’s Inc. Data Security Breach Litigation, No. 1:20-cv-00382, ECF No. 12 (M.D. Pa.)
(order consolidating data breach action and ordering plaintiffs to file an operative, consolidated
amended complaint within sixty (60) days of the consolidation order).
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Dated: April 13, 2023                    Respectfully submitted,




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